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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

             UNITED STATES OF AMERICA                    :         CRIMINAL ACTION
                                                         :
                            v.                           :         No. 1:10-CR-053-CAP-ECS-1
                                                         :
             CORNELL BRUMFIELD                           :


                                       REPORT AND RECOMMENDATION

                                                     I.
                                           The Motion to Suppress

                     This matter is before the Court on Defendant’s motion to

             suppress. [Doc. 32]. An evidentiary hearing was held on July 8,

             2010. [Doc. 49].1        All briefs have been filed. The motion is now

             ready for issuance of a Report and Recommendation.

                     The motion seeks to suppress evidence seized after Defendant’s

             car was stopped and impounded on January 4, 2010, in connection with

             the robbery of a Regions Bank located on Concord Road in Smyrna,

             Georgia. Defendant contends that the officers lacked probable cause

             or reasonable suspicion to make the stop and that impounding and

             later       searching   the   vehicle   at      the   impound   lot   was   illegal.

             Defendant also contends that statements he made at the Smyrna Police

             Department      after   the    stop   and    impound    were    un-Mirandized2     and

             involuntary.

                     1
                      References to the transcript of the                       July     8,   2010,
             evidentiary hearing will be cited as “(T. pg).”
                     2
                         Miranda v. Arizona, 384 U.S. 436 (1966).




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                                                 II.
                                         Factual Background

                    On the morning of January 14, 2010, the Regions Bank located on

             Concord Road in Smyrna, Georgia, was robbed by a lone robber who

             escaped carrying the stolen currency in a dark colored duffel-type

             bag.     The suspected robber was observed running in an “all-out

             sprint” from the bank – carrying the duffel bag – by Matthew

             Justice, a groundskeeper working outside the Brown Elementary School

             located across Brown Road behind and near the Regions Bank.              (T. 7-

             8).    The witness also noticed evidence that a dye pack had exploded:

             “So when he was coming back up across [the parking lot], then there

             seemed to be a little pinkish-maroon cloud.”             (T. 8).    Mr. Justice

             crossed Brown Road to see where the running man was headed but lost

             sight of him as the man went down a hill behind the bank and toward

             a parking lot.    (T. 9).    By the time the groundskeeper got across

             the road, the running man had disappeared.           (T. 9).       Instead, the

             groundskeeper    observed   another       man,   later   identified     as   the

             Defendant, near the trunk of a gray or silver Dodge Stratus pulling

             a paper covering off the license tag of the vehicle.                (T. 9-10).

             This man got in the Dodge Stratus and drove off down Brown Road and

             turned left on South Cobb Drive.          (T. 11).

                    About this time, a Smyrna police car came up South Cobb Drive

             and into the bank parking lot and was flagged down by Mr. Justice,


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             who told him about seeing the running man and about the gray Dodge

             that had pulled away and onto South Cobb Drive.                       (T. 11-12).

             According to Mr. Justice, this officer spoke on his radio and then

             went “tear[ing] off down Brown Road.”                 (T. 11-12).     The officer

             observed by Mr. Justice was apparently Officer Nesbit, who broadcast

             the initial report to be on the lookout for a gray Dodge Stratus.

             (T. 100-101).

                    Meanwhile,    Officer    Reginald      Davis     of    the   Smyrna   Police

             Department had responded to the robbery in progress announcement

             that was broadcast on his radio.         (T. 32).       He headed south on South

             Cobb   and   spotted    the    Defendant’s         vehicle,   which   matched   the

             description broadcast to him.        (T. 33).         He followed the car for a

             distance, waiting for backup, and then pulled it over.                 (T. 33-34).

             Backup arrived and Defendant was ordered out of the vehicle at

             gunpoint and handcuffed.          (T. 35, 56).           After the vehicle was

             inspected    for    other   occupants,       and    Defendant’s     three-year-old

             daughter was discovered in the backseat, Defendant’s handcuffs were

             removed.     (T. 37).       During this time the Defendant denied any

             knowledge of the robbery.3        (T. 37).




                    3
                     Defendant’s three-year-old daughter was asked where she and
             her “Daddy” had come from and she pointed back towards the bank.
             When she was asked if they had been to the bank, she answered in the
             affirmative. (T. 89).

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                  Defendant produced his driver’s license.        (T. 38).   A computer

             check of the vehicle tag disclosed a suspended registration and no

             valid insurance.     (T. 38).    The officers then issued a citation

             under O.C.G.A. § 40-6-10 and impounded the car under the City of

             Smyrna impound policy.     (T. 38), [Gov. Exhs. 3, 5].       After looking

             inside the passenger compartment of the vehicle and taking an

             inventory, the officers arranged for the car to be towed. (T. 46).

             The officers could not get into the trunk at this time, however.

             (T. 45).    Defendant said the trunk was broken.             (T. 37, 90).

             Defendant was also asked if he was willing to come down to the

             police department and he agreed.         (T. 41).

                  While all this was going on, Officer Edward Cason, who was back

             at the bank, took a statement from Mr. Justice.            Officer Carson

             relayed the information obtained from Mr. Justice to the officers on

             the road.    (T. 19-20).      By this time the officers had already

             stopped Defendant’s car.     (T. 20).

                  One of the officers at the stop, Officer Maroney, left the

             scene of the stop and came back to the bank to speak to the

             detectives and gather further information. (T. 90-91). During this

             time he walked around the bank and found two one-hundred dollar

             bills with red stain on them on the hill behind the bank leading

             down to the Kroger parking lot. (T. 91-92).



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                    The Dodge Stratus was towed on a flatbed tow truck by Daniel

             Herbert of Howard Trucker Service to the impound lot at the Smyrna

             Police Department, about six miles from the scene of the stop.          (T.

             72-73).    When he arrived at the impound lot, Mr. Herbert began the

             process of offloading the Stratus from the flatbed.          (T. 73).   As

             Mr. Herbert came around the rear of his tow truck to prepare the car

             to be taken off, he was startled and surprised to find a man with a

             duffel bag crouching in the truck bed near the rear door of the

             Stratus, which was slightly ajar.        (T.73-74).    Herbert confronted

             the man, who said he was “passing through,” after which the man

             jumped down off the truck and made a quick getaway.            (T. 73-74).

             Mr. Herbert called 911 and made a report, but the man got away. (T.

             74).

                    Upon further investigation by the Smyrna Police Department it

             appeared that the man had been hiding in the trunk of the Stratus

             and had gotten out of the trunk by pushing out the backseat and

             exiting the rear door.    (93-94).    When the officers looked into the

             vehicle at the impound lot, they saw the seat pushed forward and a

             large plastic bag inside the trunk.      (T. 94).     Officer Maroney then

             opened the trunk by using the trunk release on the Defendant’s keys

             and found various items of possible evidence: gloves, a walkie-

             talkie, a pistol, and electrical cord. (T. 94, 97).             After this

             initial search at the impound lot the vehicle was secured and a

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             search warrant was obtained permitting a further search of the

             vehicle.    See [Gov. Exh. 20]; (T. 111).            The seized items were

             inventoried after execution of the search warrant. (T. 112).

                  Meanwhile,     at   the    station,     Defendant   was   questioned   by

             Detective Harrison in an interview room. (T. 113-115). Defendant’s

             daughter    was   with   him    during   the   interview.      (T.   121-122).

             Detective Harrison asked Defendant a couple of questions at the

             outset about where he had been coming from and whether he had a

             criminal record.     (T. 116)     This was prior to any Miranda warnings

             being given. (T. 116).         He then administered Miranda warnings and

             questioned Defendant at greater length.            See [Gov. Exh. 22]; (T.

             113-115).

                                                  III.
                                               Discussion

                  A. The Stop of the Vehicle

                  Defendant argues that the officers who stopped his car on South

             Cobb Drive lacked reasonable suspicion for the initial stop of his

             vehicle. [Doc. 53, at 9].         In essence, Defendant argues that the

             stop was based purely on a mere hunch or generalized suspicion

             insufficient to justify it. [Id.]

                  The Constitution permits police officers to conduct a brief

             investigatory stop, Terry v. Ohio, 392 U.S. 1, 24-27 (1968), “if

             they have a reasonable, articulable suspicion based on objective


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             facts” that an individual is engaged in criminal activity.                        United

             States   v.    Powell,     222    F.3d    913,    917    (11th   Cir.    2000).     The

             “reasonable         suspicion”    must    be     more    than    an     “inchoate   and

             unparticularized suspicion or hunch.”                  Terry, 392 U.S. at 27.        The

             officer must have “some minimal level of objective justification”

             taken from the totality of the circumstances.                      United States v.

             Sokolow, 490 U.S. 1, 7 (1989) (citing INS v. Delgado, 466 U.S. 210,

             217 (1984)).         A finding of reasonable suspicion “does not require

             officers to catch the suspect in a crime.                    Instead, [a] reasonable

             suspicion      of     criminal    activity       may    be    formed     by    observing

             exclusively legal activity."              United States v. Harris, 526 F.3d

             1334, 1338 (11th Cir. 2008)(quoting United States v. Acosta, 363

             F.3d 1141, 1145 (11th Cir. 2004)). “Reasonable suspicion” is a less

             demanding standard than probable cause and requires “considerably

             less” than a preponderance of the evidence.                  Sokolow, 490 U.S. at 7.

                  The      officers    in     this    case    were    possessed      of    reasonable

             suspicion sufficient to justify the stop of Defendant’s vehicle. An

             armed bank robbery had been reported to have occurred at the Regions

             Bank at about 11:34 that morning.                Mr. Justice, the groundskeeper,

             also had reported to Officer Nesbit, who arrived first on the scene,

             that he had seen a man running away from the bank down the hill in

             the direction of the Kroger parking lot, carrying a duffel bag and

             accompanied by a pinkish-maroon cloud.                  (T. 8, 100-101).        Further,

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             the witness had also reported that he believed that the robber had

             gotten into the gray Dodge that had been parked behind the bank in

             the Kroger parking lot and that the vehicle had left the parking lot

             on Brown Road and turned left onto South Cobb Drive.         (T. 12).    The

             vehicle was definitely identified as a Dodge, more specifically as

             a Dodge Stratus.    (T. 12, 16, 21, 32, 51, 85).

                  After being advised to be on the lookout for a Dodge Stratus,

             Officer Davis saw a Dodge Stratus on South Cobb Drive, heading away

             from the Regions Bank, and made the stop. (T. 32-33, 85).               This

             sighting was within a few minutes of the bank robbery report; the

             vehicle stop occurred shortly thereafter. (T. 33). Considering all

             the above facts in their totality, the circumstances were sufficient

             to justify Officer Davis in making a Terry stop to investigate

             whether Defendant’s Dodge Stratus was the same Dodge Stratus that

             had been seen behind the bank at the time of the robbery.4




                   4
                    Officer Cason testified that by the time he interviewed the
             groundskeeper, Mr. Justice, about what he saw and called it in, he
             thought the officers had already stopped the Dodge. (T. 19-21).
             Officer Davis also recollected that the description of the car must
             have come from Officer Cason. (T.32). Sergeant Maroney, however,
             testified that Corporal Nesbitt arrived first and was the officer
             who was flagged down by the groundskeeper and broadcasted the
             description. (T. 100-102). This would have been before Officer
             Cason came a few minutes later and took a statement from Mr.
             Justice, the groundskeeper, (T. 19), and would explain any issue as
             to whether Officer Davis had received the description of the gray
             or silver Dodge Stratus before he made the stop.

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                  B. The Search of the Vehicle

                  Defendant contends that the search of the vehicle in the

             impound lot was illegal.5 Defendant contends that the search was per

             se illegal because it was warrantless, arguing that the search

             cannot be justified as a protective sweep. [Doc. 59, at 11].           The

             government responds that even if the search could not be justified

             as a protective sweep, the officers had probable cause to believe

             that the vehicle contained evidence relating to the bank robbery and

             that the search was justified under the automobile exception to the

             exclusionary rule.6 [Doc. 64, at 15].

                  The “automobile exception” to the warrant requirement provides

             that, when there is probable cause to believe that contraband or

             evidence of a crime is in a vehicle, the vehicle may be searched

             without a warrant.      Chambers v. Maroney, 399 U.S. 42, 48, 90 S.Ct.

             1975 (1970). The initial justification for this exception was based

             upon the exigent circumstances related to the movability of the

             vehicle.   Id. at 51.    The Supreme Court has subsequently made clear

             that if there is probable cause to search a vehicle, and the vehicle


                   5
                     No challenge to the initial search of the car on the scene
             or to the validity of the impoundment (or the inventory) is raised
             by Defendant.
                   6
                     Likewise, defendant makes no attack on the validity of the
             warrant that was later issued except, implicitly, insofar as it may
             have been dependent upon the legality of the initial search in the
             impound lot.

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             is readily mobile, the Fourth Amendment permits the police to search

             the vehicle without more.        Pennsylvania v. Labron, 518 U.S. 938,

             940, 116 S.Ct. 2485 (1996) (citing California v. Carney, 471 U.S.

             386, 393 (1985)).     No special exigency is required beyond a showing

             of the mobility of the vehicle.          See Maryland v. Dyson, 527 U.S.

             465, 466-67, 119 S.Ct. 2013 (1999) (per curiam).            In short, as

             stated by the Eleventh Circuit in United States v. Watts, 329 F.3d

             1282, 1286 (11th Cir. 2003):

                    [T]here are only two questions that must be answered in
                    the affirmative before authorities may conduct a
                    warrantless search of an automobile. The first is whether
                    the automobile is readily mobile. All that is necessary
                    to satisfy this element is that the automobile is
                    operational. . . . The second prong of the test, probable
                    cause, is determined under the facts of each case.

                    In   this   case,   the   automobile    exception   validates   the

             warrantless entry of the vehicle in the impound lot.           As for the

             first question, it is undisputed that the vehicle was operational

             and readily mobile when it was impounded and taken to the impound

             lot.    Once law enforcement officers have probable cause to conduct

             a warrantless search of an operational vehicle, the officers may

             conduct the warrantless search even after the vehicle is impounded

             and in police custody.     See Chambers v. Maroney, 399 U.S. 42, 50-52,

             90 S.Ct. 1975, 26 L.Ed.2d 419 (1970); Michigan v. Thomas, 458 U.S.

             259, 261, 102 S.Ct. 3079, 3080-81, 73 L.Ed.2d 750 (1982).         It makes

             no difference that at the time the vehicle was searched it had been

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             impounded or that there were no exigent circumstances necessitating

             a    warrantless    search.     “[T]here      is   no   requirement   that   the

             warrantless search of a vehicle occur contemporaneously with its

             lawful seizure or that other exigent circumstances exist.” United

             States v. Lindsey, 482 F.3d 1285, 1293 (11th Cir. 2007); Watts, 329

             F.3d 1285-1286 (11th Cir. 2003).            In the present case, the vehicle

             was lawfully seized when it was impounded.              Chambers, 399 U.S. at

             50-52.

                    As for the second prong, the officers had probable cause to

             search the vehicle at the impound lot.             The circumstances that led

             to the identification and stop of the Dodge, and its connection to

             the fleeing bank robber with the duffel bag, are recited above and

             need not be repeated.       Even assuming, arguendo, that probable cause

             might have been lacking to search at the time of the initial stop,

             once the mystery man with the duffel bag appeared on the flatbed of

             the tow truck at the impound lot, what was reasonable suspicion

             certainly ripened into probable cause.             And the vehicle was still

             movable and operational.

                    Accordingly, the search of the vehicle at the impound lot

             should be sustained.

                    C. Defendant’s Custodial Statement

                    Defendant contends that all pre-Miranda statements he made, at

             both the time of the stop and later at the police station, should be

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             suppressed   as   involuntary    and     in    violation     of   Miranda.   The

             government responds that Defendant was not “in custody” after the

             initial stop and therefore Miranda warnings were not required at

             this time. As for the statements made at the station, the government

             asserts that Miranda warnings were administered in a timely manner

             and that Defendant’s post-Miranda statements were voluntary, even

             though defendant was asked “a couple of questions” at the station

             before the warnings were given.

                  Under   Miranda   v.   Arizona,     385    U.S.   436    (1966),   before

             questioning a suspect in custody, law enforcement must inform the

             suspect that he has the right to remain silent, that his statements

             may be used against him at trial, that he has a right to an attorney

             during questioning, and that, if he cannot afford an attorney, one

             will be appointed for him.      384 U.S. at 467-73.        Miranda rights may

             be waived, however, id. at 475; and, even if Miranda warnings are

             given, evidence that is coerced must be excluded.                  Colorado v.

             Connelly, 479 U.S. 157, 167 (1986) (dictum).                 In general, the

             government must prove that the defendant voluntarily, knowingly, and

             intelligently waived his or her Miranda rights.              Miranda, 384 U.S.

             at 475.

                  The inquiry [into waiver] has two distinct dimensions.
                  First, the relinquishment of the right must have been
                  voluntary in the sense that it was the product of a free
                  and deliberate choice rather than intimidation, coercion,
                  or deception. Second, the waiver must have been made with

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                  a full awareness of both the nature of the right being
                  abandoned and the consequences of the decision to abandon
                  it.

             Moran v. Burbine, 475 U.S. 412, 421 (1986) (internal citations

             omitted).   The government bears the burden of proving waiver by at

             least a preponderance of the evidence.         Missouri v. Seibert, 542

             U.S. 600, 608 n.1 (2004); Connelly, 479 U.S. at 169.

                  1. Roadside Questioning

                  First, with respect to the questioning by the side of the road,

             it does not appear that Defendant was “in custody” such that Miranda

             warnings were required. Although Defendant had undisputedly been

             detained when the initial stop was made and was not free to leave,

             he had been released from the handcuffs and was seated or standing

             by the side of a busy public road when he was questioned.         (T. 37).

             The weapons that had initially been drawn when he stepped out of the

             car had been re-holstered.    (T. 36).   By the time he was questioned,

             the situation had become significantly less threatening than when it

             was initiated.

                  Custody for Miranda purposes generally involves deprivation of

             freedom of action “in any significant way,” Miranda at 444, as

             measured objectively from the perspective of a reasonable person.

             Berkimer v.   McCarty, 468 U.S. 420, 442 (1984).7        “And, under the


                  7
                     The standard has also been stated as whether “there is a
             ‘formal arrest or restraint on freedom of movement’ of the degree

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             objective standard, the reasonable person from whose perspective

             ‘custody’ is defined is a reasonable innocent person.”                 United

             States v. Moya, 74 F.3d 1117, 1119 (11th Cir. 1996) (citing Florida

             v. Bostick, 501 U.S. 429, 437-38 (1991)).

                  In   this   case,   Defendant’s     vehicle   was   pulled   over    for

             investigative    purposes   based   on   reasonable   suspicion   that     the

             vehicle was associated with a bank robbery.           In other words, this

             was a Terry stop,8 and the Supreme Court and the Eleventh Circuit

             have applied a less literal standard for determining whether Terry-

             stop questioning is custodial in the traffic stop context.               Thus,

             the Supreme Court has recently reiterated that “the temporary and

             relatively nonthreatening detention involved in a traffic stop or

             Terry stop does not constitute Miranda custody.”              Maryland v.

             Shatzer, 130 S.Ct. 1213, 1224 (2010)(citations omitted).

                  In drawing the line between a non-custodial Terry inquiry that

             does not require Miranda warnings and a custodial arrest which does,

             several factors are informative: “the law enforcement purposes

             served by the detention; the diligence with which the police pursue

             the investigation; the scope and intrusiveness of the detention; and



             associated with formal arrest.” New York v. Quarles, 467 U.S. 649,
             655 (1989); United States v. Muegge, 225 F.3d 1267, 1270 (11th Cir.
             2000)(quoting Minnesota v. Murphy, 465 U.S. 420, 430 (1984)).
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                       Terry v. Ohio, 392 U.S. 1, 24-27 (1968).

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             the duration of the detention.”             United States v. Acosta, 363 F.3d

             1141, 1146 (11th Cir. 2004) (quoting United States v. Gil, 204 F.3d

             1347, 1351 (11th Cir. 2000)); see also United States v. Williams,

             238 Fed. Appx. 566, 568 (11th Cir. 2007).             In this case, the police

             detained Defendant to pursue investigation of a recently committed

             armed bank robbery in a manner likely to confirm or dispel their

             suspicions   quickly,     and       with   a    minimum   of    interference      with

             Defendant.   They stopped the car, removed Defendant, looked inside

             the car, asked Defendant if he knew anything about the robbery, and

             ran the license tag on the car.            All of this was done diligently and

             without   delay   or    undue       intrusiveness.        The   duration    was   not

             extended, and after the investigation was completed the vehicle was

             validly impounded and Defendant agreed to come down to the station.

                    Despite its coercive aspects at the outset, this case falls

             into   the   category    of     a    relatively     non-threatening        detention

             situation that does not amount to custody for purposes of Miranda.

             By the time Defendant’s handcuffs had been removed and the guns

             holstered, the coerciveness of this public encounter had diminished

             to the extent that a reasonable innocent person would not have felt

             that he was under arrest or that this encounter would be anything

             but temporary, unless voluntarily extended.




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                    Under the circumstances, Defendant’s detention did not mature

             into   a   custodial     arrest,      Miranda   warnings     were   not   required

             roadside, and any statements Defendant made should be admissible.

                    2. The Station-House Interview

                    After Defendant was detained by the side of the road and his

             car impounded due to the suspended license tag, Defendant agreed to

             go to the station-house to answer some questions. At the station,

             Detective Harrison asked him a couple of questions about where he

             had been coming from and his criminal record before he advised him

             of his Miranda rights.      Having been advised of his rights, Defendant

             proceeded to talk with the Detective and answered questions.                     (T.

             113); see [Gov. Exh. 22].

                    Defendant contends that the Miranda warnings were given too

             late and that Defendant’s statements were involuntary. The evidence

             does not, however, support a finding that Defendant’s statements

             were involuntary or that his waiver of his Miranda rights was not

             knowing, intelligent and voluntary. The record shows that Defendant

             agreed to come to the station. He was placed in an interview room

             and was not separated from his daughter, who sat on his lap during

             the    interview.   He    was    not    handcuffed,    nor   were   any    weapons

             displayed, and the manner of questioning was not coercive.                A review

             of the audio tape of the interview confirms the administration of

             the    Miranda   warnings       and    Defendant’s    acknowledgment      that    he

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             understood   them.      [Gov.      Exh.    22].         The    tape     discloses   no

             overreaching by Detective Harrison or undue pressure on Defendant to

             answer the questions.

                   Upon consideration of the above facts, the undersigned finds

             that Defendant came voluntarily to the station and was not “in

             custody” when he made his statements.                 See California v. Beheler,

             463 US 1121, 1125 (1983) (“Miranda warnings are not required simply

             because the questioning takes place in the station house, or because

             the   questioned     person   is     one       whom    the     police    suspect.”).

             Furthermore, his statements were voluntary.               As for his pre-Miranda

             answers to the two questions, these answers are admissible because

             Miranda warnings are not required to be given to one not in custody.

             And his post-Miranda statements are a fortiorari also admissible

             because they were voluntary - his Miranda rights were waived and he

             agreed to speak - even if he were deemed to have been in custody.

             Finally, There is no issue relating to dual questioning under

             Missouri v. Seibert, 542 U.S. 600 (2004).9                   In sum, the motion to

             suppress statements should be DENIED.



                   9
                     Defendant did not cite Siebert or explicitly raise an issue
             under Siebert but, in any event, the facts do not support a finding
             that Defendant’s Mirandized statement was tainted by his un-
             Mirandized statement because, among other things, Defendant was not
             in custody when he gave it, nor was any deliberate two-step
             “question first” strategy employed to obtain a confession as
             prohibited in Seibert. 542 U.S. at 610.

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                                                 IV.
                                             Conclusion

                  In   conclusion,   the   undersigned    RECOMMENDS   that   Defendants

             motion to suppress evidence and statements be DENIED.



                  SO REPORTED AND RECOMMENDED, this 17th day of February, 2011.

                                                      /s/ E.Clayton Scofield III
                                                      E. Clayton Scofield III
                                                      United States Magistrate Judge




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(Rev.8/82)
